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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                        Plaintiff,

         v.                                        No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                        Defendants.


 DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT THAT THERE
 WERE AVAILABLE AND ACCEPTABLE NON-INFRINGING ALTERNATIVES TO
                     THE ASSERTED PATENT

       Pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1, Defendants Celltrion Healthcare Co.,

Ltd., Celltrion, Inc., and Hospira Inc. (collectively “Defendants”), hereby move this Court to enter

partial summary judgment that there is at least one available, acceptable non-infringing alternative,

and thus that lost profits are not an appropriate measure of damages. As set forth in Defendants’

supporting Memorandum, there is no genuine issue of material fact and judgment should be

entered as a matter of law.

                                 REQUEST FOR ORAL ARGUMENT

       Defendants believe oral argument may assist the Court and therefore request oral argument

on the motion during the scheduled June 11, 2018 hearing. Dkt. 176.

                                         RELIEF REQUESTED

       WHEREFORE, Defendants respectfully request that this Court enter summary judgment

that that there is at least one available, acceptable non-infringing alternative, and thus that lost
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profits are not an appropriate measure of damages, and grant such other and further relief as this

Court deems just.




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Dated: May 4, 2018                 Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with Plaintiff’s

counsel and attempted in good faith to resolve or narrow the issue raised in this motion. No

agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                  /s/ Andrea L. Martin, Esq.
                                                  Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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